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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


MICHIGAN   WELFARE   RIGHTS
ORGANIZATION, et al.
               Plaintiffs,
                                          Civ. Action No. 20-3388 (EGS)
v.

DONALD J. TRUMP, et al.,

                   Defendants.


                       MEMORANDUM OPINION AND ORDER

  I.      Introduction
       Plaintiffs Michigan Welfare Rights Organization (“MWRO”),

the National Association for the Advancement of Colored People

(“NAACP”), Maureen Taylor (“Ms. Taylor”), Nicole Hill (“Ms.

Hill”), and Teasha Jones (“Ms. Jones”) (collectively

“Plaintiffs”) bring this case against Defendants the Republican

National Committee (“RNC”); Donald J. Trump for President, Inc.

(the “Trump Campaign”), and Donald J. Trump (“Former President

Trump”) (collectively, “Trump Defendants”), alleging violations

of the Voting Rights Act (“VRA”), 52 U.S.C. § 10307(b); and the

Ku Klux Klan Act (“KKK Act”), 42 U.S.C. § 1985(3); based on

conduct alleged to have occurred throughout the country around

the 2020 Presidential Election. See generally Amended Complaint




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(“Am. Compl.”) ECF No. 8. 1 On April 1, 2022, this Court issued a

Memorandum Opinion and Order granting Defendants’ Motions to

Dismiss as to Plaintiffs’ VRA claim, and holding in abeyance the

Motions to Dismiss as to Plaintiffs’ KKK Act Claim. See

generally Mem. Op., ECF No. 49, Order, ECF No. 48.

      Pending before the Court is Plaintiffs’ Motion for Leave to

File Second Am. Compl. (“Pls.’ Mot.”), see ECF No. 55; which

also includes a request for the Court to reconsider the VRA

claim considering Plaintiffs’ new allegations. Both the RNC and

the Trump Defendants oppose the motion. See RNC Opp’n, ECF No.

56; Trump Defs.’ Opp’n, ECF No. 57.

      Upon consideration of the motion, responses, and the reply

thereto, and the applicable law, the Court GRANTS Plaintiffs’

Motion to Amend, ECF No. 55; and FINDS AS MOOT the portions of

the RNC’s Motion to Dismiss, see ECF No. 24; and the Trump

Defendants’ Motion to Dismiss, see ECF No. 25-1; that were held

in abeyance.

    II.   Factual and Procedural Background
      Plaintiff MWRO is the Michigan state chapter of the

National Welfare Rights Union and is based in Detroit, Michigan.

See Am. Compl., ECF No. 8 ¶ 7. MWRO “conducts voter engagement




1 When citing electronic filings throughout this Opinion, the
Court cites to the ECF page number, not the page number of the
filed document.


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efforts targeted at low-income voters of color” and has members

“who reside in Detroit in Wayne County, Michigan, voted in the

November 2020 election, and cast a ballot for President.” Id.

Plaintiffs Maureen Taylor, Nicole L. Hill, and Teasha K. Jones

reside in Detroit and cast their votes for President in the 2020

election. Id. ¶¶ 8-10. Plaintiff the NAACP is “the nation’s

largest and oldest civil rights grassroots organization” and

“has over 220,000 members nationwide.” Id. ¶ 12. It has “members

across the country who voted in the 2020 election and who plan

to vote in future elections, including in Michigan, Wisconsin,

Pennsylvania, Georgia, Arizona, and Nevada.” Id.

     Defendant Donald J. Trump was the forty-fifth President of

the United States. Id. ¶ 13. In November 2020, he was an

unsuccessful candidate for re-election to that office. Id. He is

domiciled in Florida, and was also domiciled there when the

events alleged in the Amended Complaint occurred. See Trump

Defs.’ MTD, ECF No. 25-1 at 8. Donald J. Trump for President,

Inc. (“Trump Campaign”), is a Virginia corporation with a

principal place of business in New York and an office in

Virginia. See id. The RNC is a national political party with its

principal place of business at 310 First Street S.E., Washington

D.C. See Mot. to Transfer, ECF No. 21 at 7.

     On November 20, 2020, Plaintiffs brought suit in this Court

alleging: (1) Violation of Section 11(b) of the Voting Rights


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Act (“VRA”), see 52 U.S.C. §10307(b); and (2) Conspiracy to

Interfere with Civil Rights in Violation of 42 U.S.C. §1985(3). 2

See Am. Compl., ECF No. 8 ¶¶ 76-85. Plaintiffs assert that

Defendants conspired to prevent the counting of legally cast

ballots, see id. ¶¶ 20, 76-85; and that the objective of

Defendants’ conspiracy was to intimidate election officials,

disenfranchise and overturn the will of voters, and ensure that

then-President Trump remained President despite losing the 2020

presidential election, see, e.g., id. ¶¶ 35-37.

     On April 1, 2022, the Court issued a Memorandum Opinion and

Order granting Defendants’ Motions to Dismiss Plaintiffs’ VRA

claim and holding in abeyance the motions as to Plaintiffs’ KKK

Act Claim. See generally Mem. Op., ECF No. 49. Plaintiffs

subsequently sought to amend their complaint so as to address

the Court’s concerns regarding their VRA claim and to add

factual allegations regarding conduct by the RNC and the Trump

Defendants that occurred or involved evidence that became

available after Plaintiffs filed their Amended Complaint on

December 21, 2020. Pls.’ Mot., ECF No. 55 at 2. The RNC and the

Trump Defendants have opposed this motion. See RNC Opp’n, ECF

No. 56; Trump Defs.’ Opp’n, ECF No. 57. Plaintiffs have filed a




2 Since the Court has already issued a Memorandum Opinion as to
the Voting Rights Act claim, see ECF No. 49; this opinion
focuses on the allegations relevant to the conspiracy claim.


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reply. See ECF No. 58. The motion is ripe and ready for

adjudication.

  III. Standard of Review

       A. Motion for Leave to Amend a Complaint

     Under Federal Rule of Civil Procedure 15(a), the court

should “freely give leave” to a party to amend a pleading “when

justice so requires.” Fed. R. Civ. P. 15(a)(2). Although the

court has sole discretion to grant or deny leave to amend,

“[l]eave to amend a complaint should be freely given in the

absence of undue delay, bad faith, undue prejudice to the

opposing party, repeated failure to cure deficiencies, or

futility.” Richardson v. United States, 193 F.3d 545, 548–49

(D.C. Cir. 1999) (citing Foman v. Davis, 371 U.S. 178, 182, 83

S.Ct. 227, 9 L.Ed.2d 222 (1962)); see also James Madison Ltd. v.

Ludwig, 82 F.3d 1085, 1099 (D.C. Cir. 1996) (“Courts may deny a

motion to amend a complaint as futile ... if the proposed claim

would not survive a motion to dismiss.”). “The burden is on the

defendant to show that leave to file an amended complaint should

be denied.” Afram v. United Food & Commercial Workers Unions &

Participating Emp'rs Health & Welfare Fund, 958 F. Supp. 2d 275,

278 (D.D.C. 2013).




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       B. Subject Matter Jurisdiction

     Federal district courts are courts of limited jurisdiction

and “possess only that power conferred by [Article III of the]

Constitution and [by] statute.” Logan v. Dep’t of Veterans

Affairs, 357 F. Supp. 2d 149, 152 (D.D.C. 2004)

(quoting Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S.

375, 377 (1994)). “There is a presumption against federal court

jurisdiction and the burden is on the party asserting the

jurisdiction, the plaintiff in this case, to establish that the

Court has subject matter jurisdiction over the action.” Id. at

153 (citing McNutt v. Gen. Motors Acceptance Corp. of Ind., 298

U.S. 178, 182–83 (1936)).

     The requirement of “standing is an essential and unchanging

part of the case-or-controversy requirement of Article III.”

Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992). “[T]he

defect of standing is a defect in subject matter jurisdiction.”

Haase v. Sessions, 835 F.2d 902, 906 (D.C. Cir. 1987). There are

three requirements for standing:

          First, the plaintiff must have suffered an
          “injury in fact”—an invasion of a legally
          protected interest which is (a) concrete and
          particularized, and (b) “actual or imminent,
          not ‘conjectural’ or ‘hypothetical.’” Second,
          there must be a causal connection between the
          injury and the conduct complained of—the
          injury has to be “fairly . . . trace[able] to
          the challenged action of the defendant, and
          not . . . th[e] result [of] the independent
          action of some third party not before the


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          court.” Third, it must be “likely,” as opposed
          to merely “speculative,” that the injury will
          be “redressed by a favorable decision.”

Lujan, 504 U.S. at 560–61 (citation omitted).

     In assessing whether a complaint sufficiently alleges

subject matter jurisdiction, the Court accepts as true the

allegations of the complaint, see Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009); and liberally construes the pleadings such that

the plaintiff benefits from all inferences derived from the

facts alleged, Barr v. Clinton, 370 F. 3d 1196, 1199 (D.C. Cir.

2004).

     However, “[a] pleading that offers labels and conclusions

or a formulaic recitation of the elements of a cause of action

will not do. Nor does a complaint suffice if it tenders naked

assertions devoid of further factual enhancement.” Iqbal, 556

U.S. at 678 (citations, quotation marks and brackets omitted).

Consequently, “[a] claim invoking federal-question jurisdiction

under 28 U.S.C. § 1331 ... may be dismissed for want of subject

matter jurisdiction if it is not colorable, i.e., if it

is immaterial and made solely for the purpose of obtaining

jurisdiction or it is wholly insubstantial and

frivolous.” Arbaugh, 546 U.S. 500, 513 n.10 (2006) (citation

omitted); accord Tooley v. Napolitano, 586 F.3d 1006, 1009 (D.C.

Cir. 2009) (citation omitted).




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  IV.   Analysis
     Plaintiffs seek leave to: (1) address the shortcomings in

their VRA claim, for which the Court granted Defendants’ Motions

to Dismiss, see Mem. Op., ECF No. 49; and (2) to add factual

allegations regarding conduct that occurred or evidence that

became available after they filed their Amended Complaint on

December 21, 2020. Pls.’ Mot., ECF No. 55 at 2. They contend

that there is no “sufficient reason” to deny leave to amend

because they are “moving within a reasonable time and with

proper motivation; they have not previously failed to cure any

pleading deficiency identified by this Court; and amendment

would not be futile.” Pl.’s Mot., ECF No. 55 at 3.

     The RNC responds that the motion should be denied on

futility grounds because Plaintiffs’ amended allegations are

insufficient to address the standing deficiencies as to the VRA

claim. See RNC Opp’n, ECF No. 56 at 1, 6. The Trump Defendants

similarly contend that “[n]one of the additional facts or

politically charged rhetoric alleged by Plaintiffs changes the

legal conclusion at the heart of the Court’s holding dismissing

their claim under Section 11(b) of the Voting Rights Act:

Plaintiffs lack standing to pursue a claim.” Trump Defs.’ Opp’n,

ECF No. 57 at 2. Both oppositions address only Plaintiffs’

attempt to address the deficiencies in their VRA claim.




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       A. The SAC Is Not Futile
     Plaintiffs argue that the proposed Second Amended Complaint

(“SAC”) would not be futile because the additional factual

allegations demonstrate that there is a substantial risk that

they will suffer future harm caused by Defendants, and thereby

have standing for the VRA § 11(b) claim. Pl.’s Mot., ECF No. 55

at 4-5. Plaintiffs assert that Defendants’ “illegal attempts to

disenfranchise the individual Plaintiffs and the members of the

organizational Plaintiffs have continued since Plaintiffs filed

their Amended Complaint, and the harms from that conduct are

also continuing . . ..” Id. at 5. The RNC responds that: (1)

Plaintiffs have not established a real and impending threat from

the RNC; and (2) Plaintiffs provide “no evidence” that the RNC

is responsible for the “isolated” actions of state and local

officials who are RNC members and therefore fail to meet the

redressability prong of standing. RNC Opp’n, ECF No. 56 at 2, 4.

The Trump Defendants reiterate that Plaintiffs have presented no

evidence of future disenfranchisement or imminent harm. Trump

Defs.’ Opp’n, ECF No. 57 at 5. 3


3 The Trump Defendants assert that the RNC’s February 2022
resolution censuring Republican legislators Liz Cheney and Adam
Kinzinger for their involvement in investigating the January
insurrection in which participants used violence and terror to
try to prevent Congressional certification of the election
results has “no relation” to this case and strays into non-
justiciable political questions. See Trump Defs.’ Opp’n, ECF No.
57 at 6-7. But the Trump Defendants’ attempt to recast the issue
does not change that the Court is not settling any dispute


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     The Court rejects Defendants’ futility arguments,

concluding that the allegations in Plaintiffs’ SAC meet the bar

for standing for the purpose of addressing the Motion to Amend.

Before reaching the imminence and redressability components of

its standing analysis, the Court considers the threshold issue

of immunity, which the Trump Defendants assert is absolute for

Former President Trump. See Defs.’ Mot., ECF No. 57 at 7.

               1. Former President Trump is Not Absolutely Immune
                  From Damages Liability
     The Trump Defendants assert that the SAC fails as to Former

President Trump because it is barred by the President’s absolute

immunity, see Trump Defs.’ Opp’n, ECF No. 57 at 7; reiterating

their earlier argument that Former President Trump is

“absolutely immune” from damages liability predicated on acts

within the “outer perimeter” of his official responsibility.

Trump Defs.’ Mo. to Dismiss, ECF No. 25-1 at 19-20. Plaintiffs

renew their prior argument that they are pursuing claims against

Former President Trump for actions taken in his personal

capacity as a candidate, not in his official capacity as

President. Pls.’ Reply, ECF No. 58 at 5-6; Pls.’ Mot. to Dismiss

Opp’n, ECF No. 35 at 25. The Trump Defendants assert that Former

President Trump was “contesting election results so as to




between the RNC and its legislators: it is considering the fact
of the censure resolution as evidence presented by Plaintiff.


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preserve, protect, and defend the Constitution of the United

States.” Trump Defs.’ MTD Reply, ECF No. 38 at 12.

     When defending against actions for damages, the President’s

privilege is absolute, meaning he has a complete defense

entitling him to summary judgment, subject only to the

requirement that his actions fall within the outer perimeter of

his official duties. Chastain v. Sundquist, 833 F.2d 311, 315

(D.C. Cir. 1987). However, immunity does not protect acts that

Former President Trump undertook outside the outer perimeter of

his official duties. Clinton v. Jones, 520 U.S. 681, 694-95

(1997) (citing Nixon v. Fitzgerald, 457 U.S. 731, 757, 759

(1982)) (finding that the President’s “effort to construct an

immunity from suit for unofficial acts grounded purely in the

identity of his office [was] unsupported by precedent”).

     The Court agrees with Plaintiffs that Former President

Trump’s “at-issue conduct is purely political and therefore well

beyond the contours of presidential immunity.” Pls.’ Reply, ECF

No. 58 at 5-6. It has long been recognized that political

activity necessarily falls outside the scope of the President’s

official duties. See, e.g., Payment of Expenses Associated with

Travel by the President and Vice President, Justice.Gov (Mar.

24, 1982), https://www.justice.gov/sites/default/

files/olc/opinions/1982/03/31/op-olc-v006-p0214_0.pdf at 216-17

(concluding that political activity falls outside the scope of


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the President’s official duties and activities if its primary

purpose involves the President’s position as the leader of their

party). Persuasive authority in this district specifically

recognizes that there is no immunity defense for Former

President Trump for “unofficial acts” which “entirely concern

his efforts to remain in office for a second term.” Thompson v.

Trump, No. 21-CV-00400 (APM), 2022 WL 503384, at *18 (D.D.C.

Feb. 18, 2022); see also United States v. Chrestman, 525 F.

Supp. 3d 14, 33 (D.D.C. 2021) (“[A] President cannot, within the

confines of his constitutional authority, prevent the

constitutionally mandated certification of the results of a

Presidential Election or encourage others to do so on his

behalf, nor can he direct an assault on the coequal Legislative

branch of government.”). The Trump Defendants provide no reason

why this case, which relates to some of the same underlying

events, warrants a different conclusion.

     Further, and as Plaintiffs assert, Former President Trump

“does not even attempt to explain how intimidating and coercing

election officials, or inciting intimidation and threats against

election officials, could possibly constitute executive action

in defense of the Constitution, particularly given that his

actions targeted only officials in areas where he lost.” Pls.’

MTD Opp’n, ECF No. 35 at 25. “Nor does he offer any reason to

believe his efforts to expose ‘election fraud’ were part of any


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executive effort.” Id. If Former President Trump disrupted the

certification of the electoral vote count, as Plaintiffs allege

here, such actions would not constitute executive action in

defense of the Constitution. For these reasons, the Court

concludes that Former President Trump is not immune from

monetary damages in this suit. Chrestman. 525 F. Supp. 3d at 33.

               2. The SAC Adequately Alleges Standing

     The Supreme Court has “established that the ‘irreducible

constitutional minimum’ of standing consists of three elements.”

Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016). “The

plaintiff must have (1) suffered an injury in fact, (2) that is

fairly traceable to the challenged conduct of the defendant, and

(3) that is likely to be redressed by a favorable judicial

decision.” Id. An injury in fact must be “concrete and

particularized” and “‘actual or imminent, not conjectural or

hypothetical.’” Lujan v. Defenders of Wildlife, 504 U.S. 555,

560 (1992). The Supreme Court and D.C. Circuit have explained

that the imminence requirement is satisfied where there is a

“substantial risk” of future harm. See, e.g., Clapper v. Amnesty

Int’l USA, 568 U.S. 398, 414 n.5 (2013); Attias v. Carefirst,

Inc., 865 F.3d 620, 627 (D.C. Cir. 2017). Courts in this

District have stressed that “substantial risk” is the touchstone

for analyzing imminence. See, e.g., Richardson v. Trump, 496 F.

Supp. 3d 165, 178 (D.D.C. 2020). “[P]ast wrongs” do not


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“themselves amount” to the kind of “real and immediate threat”

of future injury “necessary to make out a case or controversy”

for a claim seeking only equitable relief. City of Los Angeles

v. Lyons, 461 U.S. 95, 103 (1983) (citing Rizzo v. Goode, 423

U.S. 362, 372 (1976)).

     Here, Plaintiffs assert that the SAC adds allegations

showing that the harm to them is both imminent and ongoing. See

SAC, ECF No. 155-2 ¶¶ 128-30. Plaintiffs argue that Former

President Trump has repeatedly advocated illegal action to

overturn the 2020 election. Id. ¶¶ 101–108, 112–114. Plaintiffs

point to several examples of Former President Trump’s ongoing

efforts to overturn the results of the 2020 election, including:

(1) pressuring the Speaker of the Wisconsin Assembly to nullify

the 2020 election results in March 2022, id. ¶ 112, which the

Speaker is not legally permitted to do; (2) continuing in 2022

to pressure, behind the scenes, Alabama Representative Mo Brooks

and other lawmakers to “rescind” the 2020 presidential election

results, id. ¶ 113, which there is no legal basis for doing; and

(3) backing candidates in 2022 elections in order to have a “new

Legislature” in Michigan that would, baselessly, try to

undermine the 2020 presidential election results, and backing

other 2022 candidates because they endorse his false claims that

the 2020 presidential election was stolen from him, id. ¶ 114.




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     Plaintiffs claim that “the onslaught of threats and

intimidation directed at election officials by Defendants and

their agents following the 2020 presidential election” “have led

both to an exodus of election officials as they retire early or

simply quit and to fears among election officials that political

leaders will interfere with how they do their jobs in future

elections, including by pressuring those officials to certify

election results in favor of a specific candidate or party.” Id.

¶ 35. In support of their argument that harm is ongoing and

imminent, Plaintiffs also allege that “[o]ne in six election

officials has experienced job-related threats, and thirty

percent of officials know of one or more election workers who

have already left their jobs because of the threats and

intimidation.” Id. ¶ 36.

     The Trump Defendants respond that Plaintiffs fail to show

any “substantial risk” that their votes will not be counted or

that Plaintiffs will be personally injured due to the actions of

Defendants in the future. Trump Defs.’ Opp’n, ECF No. 57 at 5.

They suggest to this Court that “Plaintiffs are reiterating a

tired trope that any effort to ensure the integrity of the

election is an illegal attempt to suppress legitimate votes.”

Id. The Court disagrees.

     As a fellow Judge in this district previously observed as

to the “integrity” of Former President Trump’s efforts:


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          “[Former President Trump] recited a litany of
          false claims about the ways in which the
          election had been stolen in Pennsylvania
          (e.g., over 200,000 more ballots cast than
          voters), Wisconsin (e.g., postal service
          workers   were   told  to   backdate   100,000
          ballots), Georgia (e.g., election officials
          pulled “boxes ... and suitcases of ballots out
          from under a table”), Arizona (e.g., 36,000
          ballots were cast by noncitizens), Nevada
          (e.g., more than 42,000 double votes), and
          Michigan (e.g., thousands and thousands of
          ballots     were    improperly     backdated).

Trump, 2022 WL 503384, at *43. With no evidence of voter fraud

and based entirely on his own false claims narrative, Former

President Trump then stated:

          “If we allow this group of people to illegally
          take over our country, because it's illegal
          when the votes are illegal, when the way they
          got there is illegal, when the States that
          vote   are   given    false   and   fraudulent
          information . . . the [immigrant] caravans are
          forming again. They want to come in again and
          rip off our country. Can't let it happen.”

Trump, 2022 WL 503384, at *43. He then told his supporters

“you’re allowed to go by very different rules,” and to march on

the Capitol, “fight like hell,” and “take back our country,” see

id. at *1, *5, *32. Yet the Trump Defendants would have the

Court disregard evidence and reason and credit the view that

Former President Trump’s efforts were to prevent the counting of

“illegal votes, and implementing measure[s] to prevent illegal

votes do [sic] nothing to impact valid, legal votes.” Id. The

Court declines to do so.



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     The Trump Defendants also insist that “[Former President

Trump’s] discussions with election officials and state

government leaders” do not impact “valid, legal votes” and that

“President’s Trump encouragement of poll watchers does not mean

that Plaintiffs will be prevented from voting.” Trump Defs.’

Opp’n, ECF No. 57 at 5-6. Plaintiffs allege that Former

President Trump continues to spread false claims about the 2022

elections and continues to attempt to pressure officials into

nullifying the election results: Plaintiffs extensively allege

the efforts of Former President Trump and his allies as recently

as March 2022 to get state officials to overturn the election

results, see SAC, ECF No. 55-2 ¶¶ 112-113; to endorse and

provide financial support to candidates for office who supported

his false claims of election fraud, see id. ¶ 114; all while

fundraising for the 2024 Presidential Election, see id. ¶ 115.

These allegations are perhaps the opposite of what the Trump

Defendants term “vague suggestions of fear or intimidation.”

Trump Defs. Mot., ECF No. 57 at 6.

     Given that the individual Plaintiffs live in Michigan, a

state where Plaintiffs extensively allege Defendants have

repeatedly undertaken efforts to disenfranchise voters through

targeted harassment, intimidation, and efforts to prevent the

complete counting and certification of validly cast ballots, see

SAC, ECF No. 55-2 ¶¶ 8–10, 25, 34, 39–41; the Court concludes


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that Plaintiffs’ allegations support severe, substantial harm

from Former President Trump’s ongoing and continued efforts to

intimidate officials, spread false claims of fraud, and imperil

the right to vote. The Court is also cognizant that the

individual Plaintiffs are Black voters who are particularly

targeted by Former President Trump’s baseless allegations of

election fraud. SAC ¶¶ 8–10, 25, 46. The Court concludes that

Plaintiffs have adequately alleged, for the purposes of the

Motion to Amend, that the Trump Defendants not only caused great

harm to Plaintiffs in the past but also pose a very substantial

risk in the future to Plaintiffs’ fundamental right to vote. For

all these reasons, the SAC is not futile.

     As to the RNC specifically, Plaintiffs allege that RNC

Chairwoman Ronna McDaniel has publicly stated there were “lots

of problems with the election,” described the insurrection as

“legitimate political discourse,” and criticized the

investigation as “persecution of ordinary citizens.” Id. ¶ 116.

Plaintiffs point out that on February 4, 2022, the RNC passed a

resolution censuring Republican legislators Liz Cheney and Adam

Kinzinger for their involvement in investigating the January 6

insurrection in which participants used violence and terror to

try to prevent Congressional certification of the election

results. Id.




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     Plaintiffs further allege that the RNC and state Republican

organizations are undertaking large-scale “election integrity”

efforts, spearheaded by individuals who have publicly encouraged

election interference and intimidation during the 2020 election

results, to interfere with voting and vote counting in 2022. Id.

¶¶ 117–119. As examples, Plaintiffs state that: (1) Michigan

Republican Party Co-Chair and RNC member Meshawn Maddock, a so-

called “alternate elector” who participated in the coordinated

effort to undermine Michigan’s (and other states’) 2020 election

certification by submitting false election “certifications”

purporting to show that Former President Trump won the election,

is now involved in recruiting thousands of poll watchers to

“flood the system” in forthcoming elections, id. ¶ 119; (2) in

Texas, state Republican officials have administered virtual

trainings likely to encourage poll watchers to assume that votes

cast by voters of color are presumptively illegitimate by

instructing those poll watchers that “fraud is occurring” in

“densely populated, largely Black, Latino, and Asian

neighborhoods.” id.; (3) election watchdog groups and legal

experts warn that the RNC’s efforts to recruit and install

partisans who believe Defendants’ false election fraud narrative

in positions that should be occupied by unbiased officials, thus

risking “chaos” in jurisdictions with large numbers of voters of

color, including Detroit, id. ¶ 118.


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     The RNC responds that the censure of two of its officials

is backward looking and related to “specific and unrelated

actions by the Committee.” RNC Opp’n, ECF No. 56 at 2-3. It

similarly states that Chairwoman Ronna McDaniel’s statements are

backward looking. Id. at 3. The RNC also contends that the

subpoenas issued by the House Select investigating January 6 to

several individuals who were listed as potential alternate

electors and happen to be current or former members of the RNC

are past wrongs “not attributable to the RNC.” Id.           As to the

RNC’s alleged efforts to recruit and train poll watchers, see

SAC ¶¶ 117-119; the RNC concedes this is future looking but

states that Plaintiffs fail to connect these efforts to

“impending” future harm without showing that they “will” happen.

RNC Opp’n, ECF No. 56 at 4. As for activity by state and local

Republican officials, the RNC seeks to absolve itself of all

responsibility of its members’ conduct. Id. Essentially, the RNC

invites this Court to construe every challenged action by an RNC

official as not attributable to the RNC, as a “past wrong,” and

if not, as a future harm that Plaintiffs have not shown will

happen. The Court declines to do so.

     As a threshold matter, the Court notes that the RNC’s

argument that the political behaviors of its own officials are

not attributable to it are not cognizable at this stage where

the motion to dismiss was granted on standing grounds alone, and


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the sole inquiry is whether Plaintiffs can plausibly allege

their Section 11(b) claim. See Ctr. for Biological Diversity v.

Trump, 453 F. Supp. 3d 11, 26-27 (D.D.C. 2020) (noting that in

ruling on a motion to dismiss, “a court must assume the truth of

all material factual allegations” and “grant[] plaintiff the

benefit of all inferences”) (citations omitted). To the extent

that the RNC contests these allegations, it is premature for the

Court to consider the RNC’s arguments now, given that the

Plaintiffs’ plead that the conduct at issue was conducted by RNC

officials.

     As to a “substantial risk” of future harm, Plaintiffs’

allegations more than suffice. First, quite apart from the RNC’s

cherrypicked allegations, Plaintiffs make several allegations as

to ongoing conduct that poses an imminent threat. See SAC, ECF

No. 55-2 ¶¶ 116-119. If these allegations were, as the RNC

attempts to portray them, simply that the RNC was recruiting

poll watchers, see RNC’s Opp’n, ECF No. 56 at 4; they would be

insufficient. However, Plaintiffs allege something else

entirely: they allege, among other things, that the RNC’s

recruitment is “spearheaded by individuals who publicly

encouraged interference and intimidation of officials involved

with the certification,” SAC, ECF No. 55-2 ¶ 117; that these

“trainings continue the militaristic and adversarial character

of the 2020 efforts and frequently refer to the need to create


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an ‘army of volunteers,’ resembling the rhetoric of the 2020

intimidation efforts,” id. ¶ 118; and that state Republican

officials “have administered virtual trainings likely to

encourage poll watchers to assume that votes cast by voters of

color are presumptively illegitimate by instructing those poll

watchers that ‘fraud is occurring’ in ‘densely populated,’

largely Black, Latino, and Asian neighborhoods,” id. ¶ 119.

Second, the Court is cognizant that for something to count as a

valid allegation or piece of evidence, it must already have

happened. That does alone not make it a past wrong with no

bearing on the future. The question for the Court is whether

there is further imminent harm posed by the past conduct. The

Court’s concern for imminence is not whether a future harm will

happen. The relevant inquiry is whether there is a “substantial

risk” of future harm. Attias, 865 F.3d at 627. Past conduct can

indeed weigh in on the substantial risk of future harm. See,

e.g., Jibril v. Mayorkas, 20 F.4th 804, 814 (D.C. Cir. 2021)

(explaining that “[p]ast wrongs may serve as evidence bearing

on” standing to enjoin prospective harm) (quotation marks and

citation omitted) (alteration in original). This is particularly

critical here, given Plaintiffs’ allegations, treated as true at

this stage, that Defendants’ past conduct “seeks to provide a

veneer of legitimacy for future election intimidation efforts—

which only enhances the substantial risk of recurrence.” Pls.’


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Reply, ECF No. 58 at 4. The Court concludes that Plaintiffs’ SAC

sufficiently alleges a claim for equitable relief against the

RNC under the VRA for the purpose of addressing the Motion to

Dismiss.

  V.     Conclusion and Order
       For the foregoing reasons, the Court hereby

       GRANTS Plaintiff’s Motion to File Second Amended Complaint,

ECF No. 55; and

       FINDS AS MOOT the claim held in abeyance in RNC’s Motion to

Dismiss, ECF No. 24; and the Trump Defendants’ Motion to

Dismiss, ECF No. 25-1.

SO ORDERED.

       Signed:   Emmet G. Sullivan
                 United States District Judge
                 November 28, 2022




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